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     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     EBONY L. PIPKINS
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. Cr. S 05-122 GEB
                                     )
12                  Plaintiff,       )       STIPULATED REQUEST FOR BRIEFING
                                     )       SCHEDULE; [lodged] ORDER
13        v.                         )
                                     )       RETROACTIVE CRACK COCAINE REDUCTION
14   EBONY L. PIPKINS,               )       CASE
                                     )
15                  Defendant.       )       Date: June 6, 2008
                                     )       Time: 9:00 a.m.
16   _______________________________ )       Judge: Hon. GARLAND E. BURRELL, Jr.
17        The parties, by and through their respective attorneys, hereby
18   request that the Court enter the order lodged herewith setting a
19   briefing schedule and hearing date on the motion filed pursuant to
20   3582(c)(2) on March 10, 2008, whereby the defendant’s amended motion is
21   due on May 9, 2008, the government’s response is due on May 23, 2008,
22   and the reply, if any, is due May 30, 2008.         The motion will be heard
23   / / /
24   / / /
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26   / / /
27   / / /
28   / / /
              Case 2:05-cr-00122-DC Document 92 Filed 04/18/08 Page 2 of 2


 1   on June 6, 2008 at 9:00 a.m.
 2   Dated:    April 17, 2008
 3                                 Respectfully submitted,
 4                                 DANIEL J. BRODERICK
                                   Federal Defender
 5
 6                                   /s/ David M. Porter
                                   DAVID M. PORTER*
 7                                 Assistant Federal Defender
 8                                 Attorney for Movant
                                   EBONY L. PIPKINS
 9
10                                        O R D E R
11        Pursuant to the stipulated request of the parties, and good cause
12   appearing therefor, the amended motion shall be filed on May 9. 2008,
13   the government’s response is due on May 23, 2008, and the reply, if
14   any, is due May 30, 2008.       The hearing on the amended motion is set for
15   June 6, 2008, at 9:00 a.m..
16   Dated:    April 18, 2008
17
18                                       GARLAND E. BURRELL, JR.
19                                       United States District Judge

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          *
            Counsel for the government, Assistant U.S. Attorney Anne Pings,
28   joins in this request.
     STIPULATED REQUEST FOR BRIEFING SCHEDULE
                                       -2-
